    Case 1:21-cv-03661-ELR   Document 100   Filed 05/19/23   Page 1 of 16




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ELSA FLORES DIAZ and EDWIN
MERDRANO CACERES, for themselves              Case. No. 1:21-cv-03661-ELR
And on behalf of their minor children
E.M.F., V.M.F., B.M.F., and H.M.F.,

           Plaintiffs,

     v.

THE PARTNERSHIP, INC.,

           Defendant.




          DEFENDANT’S RESPONSE IN OPPOSITION TO
    PLAINTIFFS’ MOTION TO EXCLUDE CERTAIN OPINIONS BY
         TPI’S SECURITY EXPERT BRUCE JACOBS, PH.D.




                                    1
     Case 1:21-cv-03661-ELR         Document 100   Filed 05/19/23   Page 2 of 16




                               I.       Introduction

      Plaintiffs’ Motion to Exclude Certain Opinions by TPI’s Security Expert,

Bruce Jacobs, Ph.D.1 (the “Motion”) amounts to nothing more than sleight of hand

– attempting to dig up, re-hash, and re-frame the conversation on substantive legal

arguments under the guise of a Daubert motion. To pull this off, Plaintiffs only

mention Dr. Jacobs’s expert report in passing and almost altogether ignore the

Federal Rules of Evidence and Eleventh Circuit Daubert progeny. Plaintiffs opt

instead to simply piggyback off the Court’s statements in its recent Order on several

motions. In doing so, Plaintiffs make arguments they vehemently opposed in TPI’s

own Daubert motion – evincing a stark double standard that Plaintiffs hope the Court

tolerates. Plaintiffs rely heavily on wordplay, decontextualized deposition

testimony, and, crucially, mischaracterizations of Dr. Jacob’s report to skirt the



1
  Although Plaintiffs do not challenge Dr. Jacobs’s credibility as an expert witness,
it is important to point out that Dr. Jacobs’s credentials and the reliability of his
methodology are intertwined. Dr. Jacobs is a tenured Professor of Criminology of
the University of Texas at Dallas with nearly 30 years of experience as a professional
criminologist. ECF No. 93-1, at p. 1; see also Exhibit A, Dr. Bruce Jacobs CV, at
p. 1-2. Dr. Jacobs has analyzed thousands of crimes all over the country, conducted
extensive field work with police departments, secured a plethora of grants funds by
agencies and organizations nationwide, conducted hundreds of security assessments
and/or surveys of crime prevention measures, developed and taught courses at the
undergraduate and Ph.D. levels related to criminology, peer reviews for the leading
criminology journal in the world, and has been retained as a criminologist and
security expert for over 1,500 cases, for both plaintiffs and defendants. ECF No. 93-
1, at p. 1-3; Exhibit A, at p. 1, 15-29.

                                           2
     Case 1:21-cv-03661-ELR        Document 100   Filed 05/19/23   Page 3 of 16




standards exclusion requires. The Court’s Daubert gatekeeping role works both

ways, and the Court should not adopt Plaintiff’s double standard here. Accordingly,

the Court should deny Plaintiffs’ scattershot Motion masquerading as a Daubert

motion to exclude.

                             II.        Background

      Defendant The Partnership, Inc. (“TPI”)2 sought the expertise of Dr. Bruce

Jacobs, Ph.D. (“Dr. Jacobs”) to opine on the security measures TPI undertook to

protect its tenants and workers. Dr. Jacobs is a preeminent criminology scholar and

expert witness, having been retained as a criminologist and security expert for over

1,500 cases for plaintiffs and defendants. See generally ECF 93-1; Exhibit A. Dr.

Jacobs produced his Expert Report (the “Report”) on June 27, 2022, well before the

expert discovery deadline. Still, Plaintiffs chose not to hire and consult their own




2
  As mentioned in previous filings by TPI, Plaintiffs have named an improper party.
The Partnership, Inc. is not the owner, property manager, or a general or limited
partner of Seven Courts Apartments. Seven Courts Partners, LP owns Seven Courts
apartment complex. Nonprofit Housing Preservation VI, LLC is the managing co-
general partner of Seven Courts Partners, LP, and Fulton Seven Courts Partners LLC
is a non-managing general partner of Seven Courts Partners, LP. CCL Seven Courts
Associates LLC is a limited partner of Seven Courts Partners, LP, and Chartermac
Corporate XXXII SLP LLC is a special limited partner of Seven Courts Partners,
LP. Another separate entity, TPI Management Services, LLC, manages Seven
Courts Apartments


                                          3
     Case 1:21-cv-03661-ELR      Document 100      Filed 05/19/23   Page 4 of 16




security expert. Now, just before the clock strikes midnight, Plaintiffs seek to

exclude “certain opinions” from Dr. Jacobs’s Report.

      Plaintiffs make hay over Dr. Jacobs’s labeling of it as a “preliminary report.”

But it was only labeled as such to give Dr. Jacobs the opportunity to revise the report

in the event additional material or evidence became available – which did not occur.

The Report also takes great pains to establish Dr. Jacobs’s tried-and-true, peer-

reviewed, and widely accepted methodology, the pertinent discovery documents

relied on, and his thorough conclusions. To get around this, Plaintiffs cherry-pick

isolated quotes from the Report to misrepresent Dr. Jacobs’s conclusions and the

purposes of his Report.

      Plaintiffs claim that Dr. Jacobs formed his opinions based only on the hearsay

of others and an informal interview with Seven Courts’ property manager, Latoya

Wynn. Plaintiffs, however, ignore the hundreds of pages of relevant documents Dr.

Jacob also reviewed to form his conclusions, including:

          • Plaintiffs’ Complaint;
          • TPI’s Answer;
          • TPI’s responses to Plaintiffs’ first set of discovery responses and
            Plaintiffs’ second set of requests for production;
          • Atlanta Police Department reports and an attorney summary;
          • Plaintiffs’ Depositions; and
          • Depositions of Kenneth Hickey, Horace Holt, Latoya Wynn, Maggie
            Fontaine, Rodrick Harris.




                                          4
     Case 1:21-cv-03661-ELR        Document 100     Filed 05/19/23   Page 5 of 16




ECF 93-1, at p. 3-4. In addition, Dr. Jacobs stated that he used “content analysis,

triangulation, and analytic induction” to review and assess the relevant documents,

his site inspection and area canvass, and interview with Ms. Wynn. ECF 93-1, at p.

4. All three methods are widely used, peer-reviewed, reliable, and reproducible

techniques in the social sciences. Id. at p. 4-5.

      Based on his review of the case files, site inspection, area canvass, and

interview with Ms. Wynn, Dr. Jacobs reached the opinion that “Seven Courts

Apartments took numerous and substantive measures to create an adequate and

reasonable crime prevention posture.” Id. at p. 5. Plaintiffs’ focus on only a few of

these measures obscures the full picture. TPI’s adequate and reasonable measures

included:

            •   Criminal background checks of residents;
            •   Drug- and crime-free lease provisions;
            •   Community rules for acceptable behavior;
            •   Eviction of noncompliant residents;
            •   Nightly curfew;
            •   Window locks;
            •   Deadbolt front entry locks;
            •   Deadbolts on patio doors;
            •   Peep holes on unit doors;
            •   Metal security doors on units;
            •   Abandoned car towing;
            •   No trespassing/loitering signage on property;
            •   Routine vacant unit checks for squatters/drug dealing;
            •   Periodic inspection of property by ownership;
            •   Systematic lighting on buildings, doors, and in common areas;
            •   Routine lighting inspections and repair;

                                            5
      Case 1:21-cv-03661-ELR     Document 100    Filed 05/19/23   Page 6 of 16




           •   Routine landscaping;
           •   Property beautification and grounds upkeep;
           •   Property repair/graffiti removal;
           •   Fencing in select areas;
           •   Fence repair;
           •   Leasing office alarm (to safeguard confidential tenant files);
           •   HandyTrac™ Electronic Key Control System;
           •   Periodic HUD and State Inspections of property;
           •   Routine property inspections by management personnel;
           •   Annual property inspections by ownership;
           •   Natural surveillance provided by building structure and property
               layout.

       Id. at 5-6. Dr. Jacobs asserted that the measures taken were “consistent with

established practices in Crime Prevention Through Environmental Design (CPTED)

and Situational Crime Prevention (SCP),” both of which are peer-reviewed,

scientific approaches endorsed and/or recommended by local and federal police

organizations around the country, including the United States Department of Justice.

Id. at p. 6.

       Dr. Jacobs also opined that further security measures would not likely have

prevented the attack on Plaintiffs. Id. at p. 6-7 There is no evidence that an armed

security guard on duty patrolling at the time of the incident would have prevented

the armed robbery – nor is it the expected standard of care in the security industry

relating to a spontaneous armed robbery because “criminologists have widely

demonstrated in scientific studies that crime and violence can occur despite that

presence.” Id. at p. 6-7.


                                         6
      Case 1:21-cv-03661-ELR     Document 100     Filed 05/19/23   Page 7 of 16




      Finally, Dr. Jacobs did not offer an opinion on any substantive legal questions

for the jury to determine, including on the crime’s foreseeability. Dr. Jacobs did,

however, come to several conclusions that would assist the jury in assessing

substantive legal standards – which is exactly what an expert witness is tasked with

doing. Specifically, Dr. Jacobs noted that this type of crime would not have been on

a property owner’s radar as readily preventable. Indeed, Dr. Jacobs pointed out that

Seven Courts only experienced “one nighttime predatory gun crime” in the 11

months prior to the incident in question – which does not and cannot establish a

pattern to warrant further security measures than already taken by TPI. Id. at p. 6,

10.

      Dr. Jacobs’s Report did not reach legal conclusions on substantive Georgia

premises liability law, but instead came to conclusions based on tested, reliable, and

peer-reviewed methodology that will assist the jury in weighing the evidence so that

the jury can come to its own conclusions. Therefore, Plaintiffs’ Motion must be

denied.

                              III.      Argument

      In their attempt to bait-and-switch the Daubert and Fed. R. Evid. 702

standards for an expert witness’s testimony with the standard for establishing a

premises liability claim under Georgia law, Plaintiffs patently misstate the law on

several fronts. The Eleventh Circuit has reiterated several times that the Federal


                                          7
     Case 1:21-cv-03661-ELR      Document 100      Filed 05/19/23   Page 8 of 16




Rules of Evidence are procedural, and federal rules and law therefore apply in

federal court. See, e.g., McDowell v. Brown, 392 F.3d 1283, 1294 (11th Cir. 2004);

Long v. Raymond Corp., 245 F. App’x 912, 915 (11th Cir. 2007); Dutton v. U.S.,

621 F. App’x 962, 966 (11th Cir. 2015). In some situations, the substantive state law

is so intertwined with an evidentiary rule that the state law applies in federal court.

See, e.g., McDowell, 392 F.3d at 1294-95 (regarding Georgia’s expert competency

rules); Long, 245 F. App’x at 915 (Alabama’s expert competency rules); Dutton v.

U.S., 621 F. App’x at 966 (Georgia medical malpractice laws intertwined with

evidentiary rules). None of these carve-outs to the general principle applies here, nor

do Plaintiffs cite to any federal case excluding a security expert under the reasoning

of the Georgia Court of Appeals cases they rely on. Plaintiffs do not doubt Dr.

Jacobs’s competency as an expert witness – they focus instead on whether select,

cherry-picked quotations are reliable and helpful to the jury.

      Throughout the Motion, Plaintiffs also assert varying substantive legal

standards for the same premises liability claim. To hold a landlord liable on a

premises liability claim where there is an intervening criminal act by a third party, a

plaintiff must establish (1) foreseeability based on substantive similarity to previous

crimes, and (2) superior knowledge of a likelihood of criminal activity on the part of

the landlord. See, e.g., Cleveland v. Team RTR2, LLC, 359 Ga. App. 104, 106-07;

854 S.E.2d 756 (2021); Camelot Club Condo Ass’n, Inc. v. Afari-Opoku, 340 Ga.

                                          8
     Case 1:21-cv-03661-ELR      Document 100      Filed 05/19/23   Page 9 of 16




App. 618, 621-22; 798 S.E.2d 241 (2017). TPI did not seek Dr. Jacobs’s expertise

to opine directly on either of these two elements – nor is that the job of an expert

witness. Instead, Dr. Jacobs used his wealth of experience and peer-reviewed

criminology methods to come to a conclusion on TPI’s security measures.

      Plaintiffs’ Motion essentially boils down to a failure of Dr. Jacobs to

conclusively disprove the elements of premises liability. But that was not his job.

And – as Plaintiffs readily point out – TPI already moved for and were denied

summary judgment, only for Plaintiffs to inappropriately re-hash those arguments

under the guise of this Daubert Motion. Accordingly, Plaintiffs’ Motion must be

denied.

      A.     Dr. Jacobs’s expert opinions will assist the jury.

      Dr. Jacobs’s opinions that TPI’s security measures were reasonable, adequate,

and consistent with the customs and practices of the local area will assist the jury in

determining whether TPI had superior knowledge and reasonable foreseeability of

the incident in question. An important distinction is that Dr. Jacobs was not – and

legally could not be – intending to reach a legal conclusion on either of those issues,

as they are up to the jury. Plaintiffs, however, try to turn this against Dr. Jacobs,

insisting that Dr. Jacobs opine on substantive a landlord’s standard of care under

substantive Georgia law. That is not the standard of Daubert or Fed. R. Evid. 702.




                                          9
     Case 1:21-cv-03661-ELR      Document 100        Filed 05/19/23   Page 10 of 16




      With their assertions that testimony deviating from a state’s substantive legal

standards must be excluded, Plaintiffs misstate the law and misconstrue their own

case citations. Because Dr. Jacobs’s testimony does not fall into one of the Eleventh

Circuit’s carve-outs of evidentiary rules so intertwined with substantive state law,

Dr. Jacobs’s testimony must meet the standard of Daubert and Fed. R. Evid. 702.

Plaintiffs’ claim that Dr. Jacobs’s testimony must opine on and satisfy substantive

Georgia law on premises liability is therefore without legal basis. Yet Plaintiffs also

assert – without citation – that Dr. Jacobs admitted that his opinions have no bearing

on any issue the jury will decide. ECF No. 93, at p. 12. Plaintiffs attempt to have it

both ways – that Dr. Jacobs’s opinions must be excluded because they reach

substantive questions for the jury, and also because they do not adequately inform

substantive questions that the jury will consider.

      Plaintiffs heavily rely on Allison v. McGhan Medical Corp., 184 F.3d 1300,

1320 (11th Cir. 1999) to establish the legal standard here, but that case concerns the

causal burden and causation evidence in a medical malpractice case – which is one

area intertwined enough with evidentiary rules for substantive state law to apply in

federal court. Similarly, Plaintiffs’ cite to another carve-out, expert competency, in

City of Tuscaloosa v. Harcos Chems., 158 F.3d 546, 567 n.27 (11th Cir. 1989),

which additionally concerned misstatements of the law by the expert. Furthermore,

Plaintiffs’ references to Georgia courts’ opinions excluding expert testimony on the

                                          10
    Case 1:21-cv-03661-ELR      Document 100     Filed 05/19/23   Page 11 of 16




reasonableness of security measures are inapplicable because Georgia’s state

evidentiary rules do not apply in this case. Both Hadden v. ARE Props., LLC, 280

Ga. App. 314, 316-17; 633 S.E.2d 667 (2006) and Sotomayor v. TAMA I, LLC, 274

Ga. App. 323, 326; 617 S.E.2d 606 (2005) concern the admissibility of expert

testimony under Georgia evidentiary rules. Finally, Plaintiffs’ reliance on Carlock

v. Kmart Corp., 227 Ga. App. 356, 361; 489 S.E.2d 99 (1997) is likewise misplaced,

as the Court only found “under the facts of this case” that expert testimony on the

foreseeability of a crime was not necessary and therefore upheld the exclusion of the

expert’s testimony on foreseeability.

      These cases are not relevant to Dr. Jacobs’s Report and have no bearing on

the helpfulness of his Report to the jury. Dr. Jacobs came to conclusions on the

reasonableness and adequacy of TPI’s security measures, relative to prevailing

standards in the science of criminology, considered the customs and practices of

other area apartment complexes, and discussed factors that may go into the

foreseeability and superior knowledge of a likelihood of crime without opining on

either legal conclusion itself. Those opinions will be helpful the jury. Plaintiffs

attempt to counter Dr. Jacobs’s conclusions by pointing to deposition testimony of

Seven Courts personnel. But the weight of evidence – as Plaintiffs pointed out in

their response brief in opposition to TPI’s Daubert motion – is for the jury to

consider. See ECF No. 78, at p. 17-20.

                                         11
    Case 1:21-cv-03661-ELR      Document 100      Filed 05/19/23   Page 12 of 16




      B.     Dr. Jacobs’s expert opinions are reliable.

      As emphasized above, Dr. Jacobs went to great lengths to discuss the

methodology that led him to believe that TPI’s security measures were adequate,

reasonable, and consistent with the customs and practices of other apartment

complexes in the area. Indeed, Dr. Jacobs’s methodology is based on peer-reviewed,

practiced, tried-and-true work by himself in thousands of other cases, along with

other expert witnesses and scholars in the field of criminology.3 See ECF No. 93-1,

at p. 1-4, 6-7, 10-12; see generally Exhibit A.

      Again, Plaintiffs misstate the applicable substantive law they claim Dr.

Jacobs’s was both required and precluded from opining on. The key questions in

premises liability cases that involving an intervening criminal act by a third party

are superior knowledge and foreseeability. E.g., Bolton v. Golden Bus., Inc., 348 Ga.

App. 761, 762-63 ; 823 S.E.2d 371 (2019). This does not produce a “sliding scale”

as Plaintiffs argue, yet this standard does insulate landlords from liability under

certain situations – such as this – where an intervening criminal act cuts off

causation. Similarly, there is no one-way ratchet that Plaintiffs propose; undertaking

security measures does not heighten the standard nor constitute evidence that further



3
 Again, TPI points out that Plaintiffs do not challenge Dr. Jacobs’s qualifications.
And in his Report, Dr. Jacobs cited several authorities on his methodology. ECF No.
93-1, at p. 4 n.1-4, p. 5 n.5, p. 7-10, p 10 n.9, p. 11 n.10-13; see also Exhibit A.

                                         12
     Case 1:21-cv-03661-ELR      Document 100     Filed 05/19/23    Page 13 of 16




measures may be required. See Baker v. Simon Property Group, 273 Ga. App. 406,

408-09; 614 S.E.2d 793 (2005).

      Plaintiffs focus on Dr. Jacobs’s admission that the customs and practices are

not relevant to the reasonableness of TPI’s other security measures. But this is

simply another example of Plaintiffs swapping in different legal standards seemingly

at random. Dr. Jacobs’s opinion on the customs and practices of the local area is

reliable, as superior knowledge is an inherently localized concept. Ignoring Dr.

Jacobs’s professed methodology and the rest of his Report, Plaintiffs instead isolate

this one opinion as a basis for exclusion. Dr. Jacobs’s opinion that the customs and

practices of TPI met the standard of other area apartment complexes is just one more

piece of evidence, amid a much broader array of data points and peer-reviewed

scholarship, informing his ultimate conclusion that TPI’s security measures were

reasonable and adequate. Nowhere in Dr. Jacobs’s expert report does he claim that

his “customs and practices” opinion of the local area is the substantive legal standard

– nor is that required under Daubert and Fed. R. Evid. 702. Rather, Dr. Jacobs’s

opinion will assist the jury in determining the superior knowledge of a landlord.

      C.     Dr. Jacobs’s expert opinions cannot and do not purport to establish
             facts for which he does not have personal knowledge.

       Without any citation to binding authority or any reckoning with the breadth

of this challenge to mountains of expert witness case law, Plaintiffs argue that Dr.



                                          13
     Case 1:21-cv-03661-ELR      Document 100      Filed 05/19/23   Page 14 of 16




Jacobs’ expert opinions must be excluded because he is establishing as fact hearsay

to which he has no personal knowledge. But expert witnesses regularly do just that

– use their expertise as it pertains to an individual case to opine on matters not

personally experienced by them.

      Again evincing a double standard, Plaintiffs argued the contrary to the Motion

in their response brief to TPI’s Daubert motion. See ECF No. 78, at p. 17-20. In that

response brief, Plaintiffs defended their damages expert primarily relying on her

interviews with Plaintiffs to come to the conclusions in her report. Yet here,

Plaintiffs challenge Dr. Jacobs’s use of an interview with Ms. Wynn as one basis,

among a plethora of others, informing his opinions. See ECF No. 93-1, at p. 6

(concluding that TPI took “numerous and substantive” security measures “[b]ased

on my review of all the discovery material in this matter, as well as a site inspection,

interview with the property manager, and area canvass”).

      An expert witness’s opinions are not statements of fact deciding important

questions before ever reaching a jury. Rather, an expert witness produces a report

giving the expert’s opinions and conclusions on a set of topics, issues, or questions

to assist the jury. It is up to the jury – not the Court – to determine how much weight

to give evidence.

      TPI would suffer immense prejudice if – just before midnight – the Court

excludes the testimony of Dr. Jacobs, while Plaintiffs would suffer none if the status

                                          14
    Case 1:21-cv-03661-ELR         Document 100   Filed 05/19/23   Page 15 of 16




quo were to be maintained. Plaintiffs have deposed Dr. Jacobs, and, as they pointed

out in their response to TPI’s Daubert motion, Plaintiffs should not use this Court to

take decisions away from the jury. If Plaintiffs wish to impeach Dr. Jacobs in front

of the jury themselves, then Plaintiffs are more than welcome to do so.

                                 IV.     Conclusion

      For the foregoing reasons, Defendant respectfully requests that this honorable

court deny Plaintiffs’ Motion seeking to preclude Dr. Bruce Jacobs from offering

expert testimony in this case.

      Dated May 19, 2023

                                       Respectfully Submitted:

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                                          15
    Case 1:21-cv-03661-ELR      Document 100     Filed 05/19/23   Page 16 of 16




                      CERTIFICATE OF COMPLIANCE

      The undersigned hereby certifies that the foregoing pleading complies with

the font and point selections approved by the court in Local Rule 5.1C. This pleading

has been prepared in Times New Roman font, 14-point.



                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I have this 19th day of May 2023, served a true

and correct copy of the foregoing upon all parties via the U.S. District Court

CM/ECF electronic filing and notification system as follows:



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                                         16
